Case 3:06-cr-00038-RLY-CMM           Document 85           Filed 02/04/14   Page 1 of 3 PageID #:
                                           902




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
 vs.                                           )        Case No. 3:06-cr-0038-RLY-WGH -19
                                               )
 HARRY WADDELL, JR.,                           )
                                               )
                               Defendant.      )

                       Entry Discussing Motions for Sentence Reduction

        Before the court is defendant Harry Waddell, Jr.’s motion for clarification and second

 motion for reduction of sentence.


                                                   I.

        The motion for clarification of the denial of Waddell’s first motion for sentence reduction

 pursuant to 18 U.S.C. § 3582(c) [dkt. 21] is granted consistent with the following.

        Waddell is serving the mandatory minimum sentence of 10 years imprisonment for his

 crack-cocaine offense. He was sentenced in 2008. After the Fair Sentencing Act of 2010 took

 effect, and the Sentencing Commission reduced the Guideline ranges with retroactive effect,

 Waddell filed his first motion for reduction of sentence under § 3582(c)(2). Section 3582(c)(2)

 provides a district court with discretion to reduce an imposed term of imprisonment when a

 defendant was sentenced based on a guideline sentencing range that was later lowered by the

 Sentencing Commission with a policy statement giving retroactive effect to the reduction. U.S. v.

 Purnell, 701 F.3d 1186, 1189-1190 (7th Cir. 2012). Waddell’s first § 3582 motion was denied
Case 3:06-cr-00038-RLY-CMM            Document 85        Filed 02/04/14      Page 2 of 3 PageID #:
                                            903



 because his sentence already is at the statutory minimum, so he cannot receive any benefit from

 the lower Guidelines. See dkt. 15.


                                                 II.

        Now before the court is Waddell’s second motion for reduction of sentence pursuant to

 § 3582. In this motion, Waddell seeks to be resentenced under the Fair Sentencing Act of 2010.

 This motion is problematic both procedurally and substantively.

        First, Waddell is only authorized to file one motion per retroactive change in the

 Guidelines pursuant to § 3582(c)(2). United States v. Redd, 630 F.3d 649 (7th Cir. 2011). This

 second motion for reduction of sentence is subject to denial for this reason.

        Second, the Seventh Circuit has held that persons who received a statutory-minimum

 sentence before August 3, 2010, cannot receive any benefit from the Fair Sentencing Act of

 2010. See United States v. Foster, 706 F.3d 887 (7th Cir. 2013). Waddell falls into this category

 because he received his statutory-minimum sentence in 2008. Dorsey v. United States, 132 S.Ct.

 2321 (2012) (finding that the 2010 Act applies only to persons sentenced on or after August 3,

 2010). The only support that Waddell offers for his new motion—the decision of a panel in

 United States v. Blewett, 719 F.3d 482 (6th Cir. 2013), is incompatible with the law of this

 circuit, see Foster, 706 F.3d 887, and has been repudiated by the Sixth Circuit itself. See United

 States v. Blewett, -- F.3d --, 2013 WL 6231727 (6th Cir. Dec. 3, 2013) (en banc).

        Accordingly, Waddell’s second motion for relief pursuant to § 3582 [dkt. 62] is denied.

        IT IS SO ORDERED.



                                                               _________________________________
         2/04/2014
 Date: __________________
                                                               RICHARD L. YOUNG, CHIEF JUDGE
                                                               United States District Court
                                                               Southern District of Indiana
Case 3:06-cr-00038-RLY-CMM          Document 85   Filed 02/04/14   Page 3 of 3 PageID #:
                                          904




 Distribution:

 Harry Waddell
 Reg. No. 08353-028
 Lexington FMC
 FEDERAL MEDICAL CENTER
 P.O. BOX 14500
 LEXINGTON, KY 40512

 All Electronically Registered Counsel
